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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 IN RE GEORGIA SENATE BILL 202                        Master Case No.:
                                                      1:21-MI- 55555-JPB

THE CONCERNED BLACK CLERGY OF
METROPOLITAN ATLANTA, INC., a
Georgia nonprofit corporation, et al., Plaintiffs, Civil Action No.:
                                                   1:21-CV- 01728-JPB
     v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State, et al.,

       Defendants,
REPUBLICAN NATIONAL COMMITTEE,
et al.,
       Intervenor-Defendants.

            CBC PLAINTIFFS’ NOTICE OF JOINDER
            IN AME AND GEORGIA NAACP PLAINTIFFS’
        RENEWED MOTION FOR PRELIMINARY INJUNCTION
      Plaintiffs The Concerned Black Clergy of Metropolitan Atlanta, Inc.; The

Justice Initiative, Inc.; Metropolitan Atlanta Baptist Ministers Union, Inc.; First

Congregational Church, United Church of Christ Incorporated; Georgia Latino

Alliance for Human Rights, Inc. (collectively, “the CBC Plaintiffs”) hereby give

notice of their joinder in and adoption of the AME and Georgia NAACP Plaintiffs’

Renewed Motion for Preliminary Injunction and Brief in Support (ECF No. 535-1)

filed on April 24, 2023.

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Date: April 25, 2023           Respectfully submitted,
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                       Counsel for CBC Plaintiffs




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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using Times New Roman

font type and a point size of 14.


      Dated: April 25, 2023                       /s/ Clifford J. Zatz
                                                  Clifford J. Zatz
                                                  Counsel for Plaintiffs




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                            CERTIFICATE OF SERVICE

      I hereby certify that on April 25, 2023 I electronically filed this document

with the Clerk of Court using the CM/ECF system, which will automatically send

email notification of such filing to the attorneys of record.


      Dated: April 25, 2023                           /s/ Clifford J. Zatz
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                                                      Counsel for Plaintiffs




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